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      Declaration of Mark C. Mao
                         Exhibit 2
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                                                                 E-FILED
 1
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 7
 8
                              SUPERIOR COURT OF CALIFORNIA
 9                                SANTA CLARA COUNTY
10
11
                                                    Case No. 24CV436497
12         Ivan Zermino, Adam Schultz,
           Christy Swint, et al.,
                                                    COMPLAINT
13
                    Plaintiffs,
                                                       1. INVASION OF PRIVACY
14                                                        ACT VIOLATIONS, CAL.
              v.
                                                          PENAL CODE §§ 631 & 632
15                                                     2. VIOLATIONS OF THE
           GOOGLE LLC,
                                                          COMPREHENSIVE
16                                                        COMPUTER DATA
                      Defendant.                          ACCESS AND FRAUD ACT
17                                                        (“CDAFA”), CAL. PENAL
                                                          CODE §§ 502 ET SEQ.
18                                                     3. INVASION OF PRIVACY;
                                                       4. INTRUSION UPON
19                                                        SECLUSION;
                                                       5. BREACH OF CONTRACT;
20                                                     6. VIOLATION OF CA UCL,
                                                          CAL BUS. & PROF CODE
21                                                        §§ 17200, ET. SEQ.
                                                       7. NEGLIGENCE PER SE
22                                                     8. LARCENY / RECEIPT OF
                                                          STOLEN PROPERTY, CAL.
23                                                        PENAL CODE §496(a), (c)
                                                       9. TRESPASS TO CHATTELS
24
25                                                  DEMAND FOR JURY TRIAL
26
27
28


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 1                                      COMPLAINT
 2       Plaintiffs, Ivan Zermino, Adam Schultz, Christy Swint, et al.
 3     (Attachment 1) and each of them, individually (Hereinafter “Plaintiffs”) file
 4     this Complaint against defendant Google LLC (“Google” or “Defendant”),
 5     and in support allege the following.
 6
 7                                        SUMMARY:
 8       1. This lawsuit concerns Google’s surreptitious interception, collection,
 9     saving, and selling of each of Plaintiffs’ personal and sensitive user data while
10     in “private browsing mode.” “Private browsing mode” on Google Chrome is
11     called “Incognito mode”.
12       2. Upon information and belief, Plaintiffs allege Google intercepts, tracks,
13     collects, saves, and sells data from everyone using any of its services and
14     platforms, without user consent.
15       3. Through its consumer-facing products and services – and its business
16     advertising and surveillance tools – Google amasses data about billions of
17     people for the purpose of creating detailed user profiles in furtherance of
18     targeted advertising, or for developing their own proprietary products to
19     market.
20       4. Google accomplishes its surreptitious interception and data collection
21     through unlawful and unfair means.
22       5. Google’s services are ubiquitous on the internet as the majority of
23     websites use Google Analytics and Ad Manager. To use these services, Google
24     requires website developers to embed Google’s code onto their websites and
25     agree to its Privacy Policy. Google does not tell website developers that it
26     tracks their visitors even when they are in “private browsing mode”.
27       6. Whenever account holders, like Plaintiffs, visit a website that is running
28     Google Analytics, Ad Manager, or some similar Google service, Google’s


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 1     software is tracking them.
 2       7. By design, Google’s system is constantly tracking data. Once a user
 3     visits a website, the user’s browser sends a “GET” request to the website to
 4     retrieve it. At the same time, the user’s browser reads Google’s code, which
 5     is embedded on the website. Google’s code instructs the user’s browser to
 6     send a second and concurrent transmission directly to Google. This second
 7     transmission tells Google exactly what a user’s browser communicated to the
 8     website.
 9       8. Google then takes users’ personal information and associates it with
10     preexisting account holder profiles.
11       9. The personal information that Google sells, shares, and uses includes
12     the very sensitive private personal information Google promises it would not
13     use for advertising purposes. The personal data identifies individual account
14     holders, their devices, and their locations; the specific content of their Internet
15     communications; including highly personal information Plaintiffs specifically
16     seek to keep private.
17       10. Google’s surreptitious tracking happened even when each of the
18     Plaintiffs followed the steps that Google itself advised to safeguard their data.
19       11. Since 2016, Google has represented that users are “in control of what
20     information [they] share with Google,” leading users like Plaintiffs, and each
21     of them, to reasonably believe that they had the power to limit what data
22     Google tracks, collects, stores and shares with third parties.
23       12. Despite following Google’s guidance for how to browse the web
24     privately by using “Incognito mode” to prevent Google from saving their web
25     and app activity data, Google still intercepted, collected, and sold Plaintiffs’
26     data.
27       13. Google’s surreptitious data harvesting enables Google to offer higher
28     quality, more targeted, advertisements to users. This is at the core of Google’s


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 1     business: hundreds of billions of dollars in revenue come from selling targeted
 2     advertisements to other companies.
 3       14. By stealing and then selling users’ private information, Google prevents
 4     those users from monetizing their own data while unjustly enriching itself.
 5       15. Google further unjustly benefits from this unlawful data collection by
 6     using the data to develop its own proprietary products to sell.
 7       16. Google’s practices infringe upon users’ privacy and intentionally
 8     deceive consumers at a time when the users are expressly seeking to safeguard
 9     their important and valuable private data.
10       17. State privacy laws recognize and protect individuals’ reasonable
11     expectations of privacy in confidential communications under these
12     circumstances, and these laws prohibit Google’s unauthorized interception
13     and subsequent use of these communications.
14     18.   Plaintiffs simply seek compensatory, statutory and punitive damages,
15       and by its unlawful and outrageous conduct.
16
17                             JURISDICTION AND VENUE
18       19. This Court has subject matter jurisdiction over this action pursuant to
19     Article VI, section 10 of the California Constitution and Code of Civil
20     Procedure section 410.10.
21       20. This Court has personal jurisdiction over Defendant because it is
22     headquartered in the State of California, county of Santa Clara, and
23     purposefully avails itself of the laws, protections, and advantages of this State.
24       21. Venue is proper in this Court because Defendant conducts business in
25     this County and reaped substantial profits from customers in this County. In
26     addition, in its own Terms of Service, Defendant has agreed “…to submit to
27     the exclusive jurisdiction of any state or federal court located in Santa Clara
28     County, California (except for small claims court actions which may be


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 1     brought in the county where you reside), and waive any jurisdictional, venue,
 2     or inconvenient forum objections to such courts.” Finally, a substantial part of
 3     the acts and conduct charged herein occurred in this County.
 4
 5               FACTUAL ALLEGATIONS REGARDING GOOGLE
 6       A. Google’s “Privacy Policy”, “Privacy Controls”, and “Incognito
 7     Mode” Landing Page, Each Falsely State that Users Can Prevent
 8     Google’s Data Collection by Using “Private Browsing Mode”
 9       22. Google has repeatedly represented that users have control over what
10     information is shared with Google and that users can prevent Google from
11     tracking their browsing history and collecting their personal data online.
12       23. Google did not represent in any disclosure to Plaintiffs that it would
13     continue to intercept, track, and collect communications even when they were
14     in “private browsing mode.”
15       24. Google never notified Plaintiffs that Google would intercept users’
16     communications while in a private browsing mode, and that Google was doing
17     so for purposes of creating user profiles or providing targeted advertisings.
18     Google’s representations instead misled Plaintiffs into believing that their
19     communications during private browsing were not intercepted and used to
20     create user profiles or provide targeted advertising.
21              i. Privacy Policy
22       25. Plaintiffs allege dating back June 2016 until December 2023, Google’s
23     Privacy Policy (the “Privacy Policy”), has made numerous representations
24     about how users can “control” the information users share with Google and
25     how users can browse the web anonymously and without their
26     communications with websites being intercepted.
27       26. Google’s Privacy Policy starts by stating in the Introduction section that
28     “you can adjust your privacy settings to control what we collect and how your


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 1     information is used” and that “[y]ou can choose to browse the web privately
 2     using Chrome in Incognito mode.”
 3          27. Upon information and belief, Plaintiffs allege that as far back as June
 4     2016, Google’s Privacy Policy has said, “We will respect the choices you
 5     make to limit sharing or visibility settings in your Google Account.”
 6          28. Upon information and belief, Plaintiffs allege that under “Your privacy
 7     controls” Google reiterates, “[y]ou have choices regarding the information we
 8     collect and how it’s used.”
 9          29. Upon information and belief, Plaintiffs allege that on the “My Activity”
10     section of the Privacy Policy, Google reiterates that “My Activity allows you
11     to review and control data that’s created when you use Google services, like
12     searches you’ve done.”
13                 ii. Privacy Controls
14          30. Upon information and belief, Plaintiffs allege that users interested in
15     controlling what Google collects are directed to the “Control Panel” of the
16     Privacy Policy, where Google assures users that “[t]o browse the web
17     privately, you can use private browsing” and that “[i]f you want to search the
18     web without saving your search activity to your account, you can use private
19     browsing mode in a browser (like Chrome or Safari).”1
20          31. Upon information and belief, Plaintiffs allege that when users click on
21     “Go to My Activity” to control their data, they are presented with the option
22     to “Learn more.” When users click on “Learn more,” they are taken to a page
23     where they are supposed to be able to “View & control activity in your
24     account.” On that page, Google states that you may “[s]top saving activity
25     temporarily. . . . You can search and browse the web privately,” embedding a
26     hyperlink to the “Search & Browse Privately” page.
27
28
       1
           https://support.google.com/websearch/answer/4540094?.


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 1               iii. How to Search & Browse Privately
 2          32. On the “Search & Browse Privately” page, Google reiterates that the
 3     user, not Google, is “in control of what information [a user] . . . share[s] with
 4     Google . . . .” Google states simply that consumers enabling “private browsing
 5     mode” will allow consumers to “browse the web privately.” 2
 6          33. There is nothing on this page about Google Analytics, Google Ad
 7     Manager, any other Google data collection tool, or where and which websites
 8     online implement such data collection tools when users are privately
 9     browsing.
10          34. Upon information and belief, Plaintiffs allege that from the “View &
11     control activity in your account” page referenced above, a consumer can also
12     click the link, “Find & control your Web & App Activity” on the right-hand
13     side. On that page, Google again says that searching and browsing in “private
14     browsing mode” will “turn off” any “search customization” “using search-
15     related activity.”
16          35. Upon information and belief, Plaintiffs allege that when users click the
17     “Learn how” link, they are again redirected back to the “Search & Browse
18     Privately” page. In other words, because Google repeatedly touts that users
19     can “control” the information they share with Google and Google constantly
20     refers users back to its recommendations on how users may “browse the web
21     privately,” users are left with only one reasonable impression—if they are
22     searching or browsing the web in “private browsing mode,” Google will honor
23     their request to be left alone.
24               iv. Incognito Mode: Google’s Own Private Browsing Mode
25          36. “Incognito mode” is Google’s name for the “private browsing mode”
26     of Google’s own web browser software, Google Chrome.
27
28
       2
           See SEARCH & BROWSE PRIVATELY,
       https://support.google.com/websearch/answer/4540094?hl=en&ref_topic=3036132.


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 1       37. Upon information and belief, Plaintiffs allege the Incognito mode
 2     landing page tells users “You’ve gone incognito” and “Now you can browse
 3     privately” whenever a user enters Incognito mode.
 4       38. Based on these Google representations, Plaintiffs and each of them,
 5     reasonably expected that Google would not collect their data while in
 6     Incognito mode. They reasonably understood “You’ve gone incognito” and
 7     “Now you can browse privately” to mean they could browse privately, without
 8     Google’s continued tracking and data collection.
 9       39. Google could have disclosed on this Incognito mode landing page that
10     Google would track users and collect their data while they were browsing
11     privately, but Google did not do that. Instead, Google included representations
12     meant to assure users that they had “gone incognito” and could “browse
13     privately” with only limited exceptions, none of which included Google’s own
14     tracking and data collection practices while users were in “private browsing
15     mode”.
16       40. Google’s representations about how it does not track users under these
17     conditions are false, and contrary to the new privacy laws and its 2011
18     Consent Decree. Not only do consumers (including Plaintiffs) not know about
19     what Google is doing to collect data on them, they have no meaningful way
20     of avoiding Google’s data collection practices, even if they are following
21     Google’s instructions to “browse the web privately”.
22
23       B. Google Surreptitiously Intercepts Communications Between Users
24     and Websites to Collect Personal User Data and Communications Even
25     When the Users are in “Private Browsing Mode”
26              i. The Data Surreptitiously Collected
27       41. As described above, whenever a user (even a user in “private browsing
28     mode”, including Plaintiffs, and each of them) visits a website that is running


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 1      Google Analytics or Google Ad Manager, Google’s software scripts on the
 2      website surreptitiously direct the user’s browser to send a secret, separate
 3      message to Google’s servers in California.
 4        42. This secret separate message contains: The “GET request” sent from
 5      the user’s computer to the website; the IP address of the user’s connection to
 6      the internet; information identifying the browser software the user is using,
 7      including any “fingerprint” data (as described further below); any “User-ID”
 8      issued by the website to the user, if available; Geolocation of the user, if
 9      available; Information contained in “Google cookies,” which were saved by
10      the user’s web browser on the user’s device at any prior time.
11        43. Google does not notify users of this secret Google software code
12      designed to collect user data even while they are browsing privately, which is
13      hidden from users and runs without any notice to users of the interception and
14      data collection. This interception and data collection exceeded all
15      contemplated and authorized use of their data. Users also have no way to
16      remove the surreptitious code or to opt-out of its functionality.
17        44. Plaintiffs believe and, on that basis, allege Google specifically designed
18      the software to render ineffective any barriers users may wish to use to prevent
19      access to their information, including by browsing in Incognito mode or other
20      private browsing modes.
21        45. Private browsing modes are supposed to provide users with privacy, as
22      represented by Google, but Google’s software by design circumvents those
23      barriers and enables Google to secretly collect user data and profile users.
24        46. Google collects precisely the type of private, personal information users
25      wish and expect to protect when they have taken these steps to control what
26      information is shared with Google. Google’s tracking occurred and continues
27      to occur no matter how sensitive or personal users’ online activities are.
28


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 1                 ii. How Google Collects Data Using Google Analytics
 2          47. The vast majority online website publishers on the internet utilize
 3      Google’s website visitor-tracking product, “Google Analytics,” in addition to
 4      other Google advertisement technology products (hereinafter the “Website”).
 5      Google Analytics provides data analytics and attribution about the origins of
 6      Website’s traffic, demographics, frequency, browsing habits on the Website,
 7      and other data about visitors. Google Analytics is a “freemium” service that
 8      Google makes available to websites.3 Google Analytics is essential to Google
 9      for its targeted advertisement services and makes Google Search and its
10      rankings possible by tracking the billions of visits to various Websites every
11      day.
12          48. To implement Google Analytics, Google requires that Websites embed
13      Google’s own custom code into their existing webpage code. When a user
14      visits a website, their browser communicates a request to the Website’s servers
15      to send the computer script to display the Website. The user’s browser then
16      begins to read Google’s custom code along with the Website’s own code when
17      loading the Website from the Website’s server.
18          49. Thus, two sets of code run as part of the browser’s attempt to load and
19      read the Website pages—the Website’s own code, and Google’s embedded
20      code.
21          50. Plaintiffs believe and, on that basis, allege Google’s embedded code
22      causes the second and concurrent secret transmission from the user’s browser
23      (on the user’s computer or other connected device), containing the duplicated
24      message between the user and the Website, to be combined with additional
25      data such as the user’s prior browsing history and other Google trackers and
26
27      3
         Google Analytics is “free” to implement, but the associated data and attribution reports come at a price tag
        when Websites want more specific information. To obtain more specific and granular data about visitors,
28      Websites must pay a substantial fee, such as by paying for Google’s DV360, Ad Hub, or Google Audience
        products.


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 1      identifiers, to be sent to Google’s servers.
 2               • User-ID
 3        51. For larger websites and publishers that are able to pay Google’s
 4      additional fees, Google offers an upgraded feature called “Google Analytics
 5      User-ID,” which allows Google to map and match the user (including
 6      Plaintiffs) to a specific unique identifier that Google can track across the web.
 7      The User-ID feature allows Websites to “generate [their] own unique IDs,
 8      consistently assign IDs to users, and include these IDs wherever [the
 9      Websites] send data to Analytics.” Because of Google’s omnipresence on the
10      web, the use of User-IDs can be so powerful that the IDs can identify related
11      actions and devices and connect these seemingly independent data points.
12        52. This User-ID information is even more useful to Google than the
13      individual websites. Across millions of websites, Google is able to use its
14      secretly embedded computer scripts and User-IDs to compile what URLs the
15      same users are viewing, even when they are in “private browsing mode”,
16      adding all of this information to Google’s stockpile of user profiles.
17               • Cookies
18        53. Google also uses various cookies to supplement Google Analytics’
19      tracking practices. Google Analytics contains a script that causes the user’s
20      browser to transmit, to Google, information from each of the Google Cookies
21      already existing on the browser’s cache. These Cookies typically show, at a
22      minimum, the prior websites the user has viewed.
23        54. Google typically has its Cookies working with Google Analytics coded
24      as “first party cookies,” so that consumers’ browsers are tricked into thinking
25      that those Cookies are issued by the Website and not Google. This makes it
26      difficult for consumers to block Google’s Cookies, even if consumers tried to
27      block or clear the cookies issued by “third parties.”
28


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 1              ii. How Google Collects Data Using Ad Manager
 2        55. In addition to Google Analytics, the majority of website publishers
 3      utilize another Google tracking and advertising product, called “Google Ad
 4      Manager” which also collects the users’ URL viewing history.
 5        56. Like Google Analytics, Google Ad Manager requires Google code to
 6      be embedded into the Website’s code. When the user’s browser sends a
 7      communication to the website, asking for content to be displayed (i.e., the
 8      URL), the embedded Google code causes the user’s browser to display
 9      targeted Google advertisements. These targeted ads are displayed along with
10      the Website’s actual content. These advertisements are shown to the user on
11      behalf of Google’s advertising customers, allowing Google to make money.
12        57. Google Ad Manager also uses Approved Pixels and Cookies to track
13      users across the internet. Like Google Analytics, Google Ad Manager begins
14      collecting information on a user before the content for the webpage has even
15      fully loaded.
16        58. Plaintiffs believe and therefore allege, that in order to maximize
17      Google’s revenue, Google Ad Manager is set up to automatically retarget a
18      user based on information that Google has previously collected. Thereafter,
19      Google continues to track and target the same user across the internet.
20        59. In many cases, the intercepted communications provide the “context”
21      for targeted “contextual advertising” for Google, where Google combines the
22      URL the consumer is viewing, with what Google knows about that user (e.g.,
23      Google Analytics User-ID, geolocation), to target the consumer in the
24      “context” of his or her web experience. Because of Google’s pervasive
25      presence on the internet, its unparalleled reach, and its uncanny ability to so
26      target consumers, advertisers are willing to pay a premium for Google’s
27      advertisement services.
28        60. As with Websites implementing Google Analytics, Websites using Ad


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 1      Manager do not consent to Google collecting data for Google’s own purposes
 2      while users have enabled “private browsing mode”. On information and
 3      belief, Google never receives consent from Websites implementing Ad
 4      Manager that Google may continue to intercept user activity and user data for
 5      its own purposes when users are in a private browsing mode. Indeed, Google
 6      represents to consumers and Websites alike that it will adhere to its own
 7      Privacy Policy.
 8              iii. Google Analytics and Google Ad Manager Intercepts
 9                  Communications and Collects Data from Users Even When in
10                  “Private Browsing Mode”
11        61. Plaintiffs believe and therefore allege that even when users are
12      browsing the internet in “private browsing mode”, Google continues to track
13      them, profile them and profit from their data whenever they visit a website
14      that uses Google Analytics or Google Ad Manager. Google collects precisely
15      the type of private, personal information users wish and expect to protect
16      when they have taken these steps to control what information is shared with
17      Google. Google’s tracking occurred and continues to occur no matter how
18      sensitive or personal users’ online activities are.
19              iv. Google Collects “Fingerprinting” Data of Users in “Private
20                  Browsing Mode”
21                     1. X-Client-Data Header
22        62. Another powerful tool Google uses in building detailed profiles of users
23      is the X-Client-Data Header.
24        63. Google’s Chrome browser identifies every device upon the first
25      installation of Chrome with a unique digital string of characters called
26      Google’s “X-Client-Data Header,” such that Google uniquely identifies the
27      device and user thereafter. Whenever Chrome is used, the Google browser is
28      constantly transmitting this X-Client-Data Header to Google servers.


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 1          64. Through the X-Client-Data Header, Google can tell whether a user is
 2      in Incognito mode or not. The X-Client Data Header is present in all Chrome-
 3      states except when the user is in Incognito mode. This feature effectively
 4      makes whether or not a user thinks they are browsing in private an additional
 5      data point that is sold.
 6          65. The X-Client-Data Header allows Google to track Chrome users across
 7      the web, because it remains unchanged even if users “clear their browser
 8      cache” of cookies. 4
 9                        2. GStatic
10          66. GStatic, which is a Google-hosted service for fonts, where Google
11      loads the fonts displayed on the Website, instead of the Website’s web server.
12      A significant portion of Websites also use this service. Google sells this
13      service as something that allegedly helps to reduce bandwidth and improve
14      loading time, because Google is hosting the fonts. Plaintiffs believe and, on
15      that basis, allege that GStatic is an additional way that Google identifies and
16      tracks consumers, including when consumers are in “private browsing mode”.
17                        3. Google Approved Pixels
18          67. Google also authorizes Websites to place digital pixels (“Google
19      Approved Pixels”) embedded within the Websites’ code.28 These pixels are
20      typically created and maintained by “approved third parties” (such as
21      comScore, a data broker registered with California’s CCPA data broker
22      registry).
23          68. When a user’s web browser accesses a website containing a Google
24      Approved Pixels, that browser responds to the pixel by generating a unique
25      display. Each user’s display is unique because it is generated in part, from
26      certain digital signatures that are unique to each specific device (in
27
        4
         See Thomas Claburn, Is Chrome Really Secretly Stalking You Across Google Sites Using Per-Install ID
28      Numbers? We Reveal the Truth, THE REGISTER (Feb. 5, 2020),
        https://www.theregister.co.uk/2020/02/05/google_chrome_id_numbers/.


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 1      combination with the browser software running on the device). Plaintiffs
 2      believe and, on that basis, allege that by tracking these pixels and the unique
 3      resulting displays, Google and its data-broker partners are able to track and
 4      “measure” consumers across the web.
 5        69. GStatic and Google Approved Pixels enable Google to identify
 6      consumers because the way the fonts and pixels are displayed on the browser
 7      help to uniquely identify whom the user is. This again is another set of data
 8      surreptitiously collected by Google via the consumer’s browser which is
 9      added to the duplicated communications between the user and Websites,
10      which Google collects even when users are in “private browsing mode”.
11
12        C. The Information Intercepted, Collected, Shared, and Sold, by
13           Google Is Personal Information as Defined by California Law
14        70. California law defines “personal information” to include any
15      “information that identifies, relates to, describes, is reasonably capable of
16      being associated with, or could reasonably be linked, directly or indirectly,
17      with a particular consumer or household.” CAL. CIV. CODE §
18      1798.140(v)(1).
19        71. California law also includes a specific, non-exhaustive list of “personal
20      information” that includes personal identifiers, online identifiers, IP
21      addresses, email addresses, account names, characteristics of protected
22      classifications, purchase history or consideration, Internet or other electronic
23      network activity, including browsing history, geolocation data, employment-
24      related information, education information, and “inferences drawn” from
25      these sources “to create a profile about a consumer reflecting the consumer’s
26      preferences, characteristics, psychological trends, predispositions, behavior,
27      attitudes, intelligence, abilities, and aptitudes.” CAL. CIV. CODE §
28      1798.140(v)(1).


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 1        72. The data that Google intercepts, collect, shares, and sells, is “personal
 2      information” under California law.
 3                1. Google Creates User Profiles by Using Confidential Personal
 4                  Information
 5        73. As stated above, the core of Google’s business model is targeted
 6      advertising. The bulk of Google’s revenue comes from what companies pay
 7      Google for targeted advertising, both on Google Search and on various
 8      websites and applications that use Google services. The more accurately
 9      Google can track and target consumers, the more advertisers are willing to pay
10      Google’s high advertisement fees and services.
11        74. Google creates detailed “profiles” on each user and their devices, and
12      then associates the data (collected from users in private browsing mode) with
13      those users’ pre-existing Google “profiles.” Doing so improves the “profiles”
14      and allows Google to sell more targeted ads to those users.
15        75. Google strives to build “profiles” on each individual (including
16      Plaintiffs) and each of their devices. These “profiles” contain all the data
17      Google can collect associated with each individual.
18        76. The “personal information” of Plaintiff, and each of them, that Google
19      uses to identify and profile, includes, but is not limited to:
20            •      Google Analytics User-ID
21        77. Google Analytics User-ID enables Google to associate the data
22      collected from users in “private browsing mode” with specific and unique user
23      profiles. Google does this by using a unique identifier of the user it collects
24      from Websites, and Google Cookies that it collects across the internet on the
25      same user. Google Analytics User-ID is “personal information” under
26      California law because they are reasonably capable of being associated with
27      and could reasonably be linked, directly or indirectly, with a particular
28      consumer or household.


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 1            •      Google Cookies and cookie related identifiers.
 2        78. A cookie is a small text file that a web-server can place on a person’s
 3      web-browser and computing device when that person’s web browser interacts
 4      with the website server. Cookie-related identifiers include “beacons, pixel
 5      tags, mobile ad identifiers … and other forms of persistent or probabilistic
 6      identifiers that can be used to identify a particular consumer or device.” CAL.
 7      CIV. CODE § 1798.140(x),(aj).
 8        79. California law defines a “unique identifier” to expressly include “a
 9      persistent identifier that can be used to recognize a consumer, a family, or a
10      device that is linked to a consumer or family, over time and across different
11      services, including but not limited to … cookies, beacons, pixel tags, mobile
12      ad identifiers, … or other forms of persistent or probabilistic identifiers that
13      can be used to identify a particular consumer or device.” Id. § 1798.140(aj).
14        80. Cookies and cookie-related identifiers are “personal information”
15      under California law because they are reasonably capable of being associated
16      with and could reasonably be linked, directly or indirectly, with a particular
17      consumer or household.
18            •      Device Identifier
19        81. A device identifier is a number that identifies a device. Device
20      identifiers are commonly used to identify and track Internet communications
21      of specific users. California law specifically lists “device identifiers” as
22      “unique personal identifiers.” CAL. CIV. CODE § 1798.140(aj). Device
23      identifiers are “personal information” under California law because they are
24      reasonably capable of being associated with and could reasonably be linked,
25      directly or indirectly, with a particular consumer or household.
26            •      Geolocation
27        82. California law specifically includes “geolocation data” in the definition
28      of “personal information.” See CAL. CIV. CODE § 1798.140(v)(1)(G).


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 1      Geolocation is commonly used to identify and track Internet communications
 2      of specific users. The dissemination of geolocation data connected to network
 3      activity poses drastic privacy consequences for users – regardless of whether
 4      the specific content of their Internet communications is sold or shared.
 5            •      IP address information.
 6        83. An IP address is a number that identifies a computer connected to the
 7      Internet. IP addresses are used to identify and route communications on the
 8      Internet. Google tracks IP addresses associated with specific users. Google
 9      keeps a record of every IP address that it has ever associated with an account
10      holder in each account holder’s Google Account. IP address information is
11      transmitted to Google’s servers during the private and non-private browsing
12      sessions. Google correlates and aggregates all of this information to create
13      profiles on the consumers. IP addresses are “personal information” as a matter
14      of law. CAL. CIV. CODE § 1798.140(v)(1)(A).
15                • User-Agent Information
16        84. A user-agent is an identifier that identifies the application, operating
17      system, and version of the application and operating system for a specific user
18      making a communication.
19        85. A user-agent alone may or may not be personal information. However,
20      when used in combination with other identifiers, it is capable of directly or
21      indirectly identifying a specific individual or household.
22        86. When multiple devices share a specific IP address on a single network,
23      Google associates additional User-Agent information with each IP address
24      that it associates with a Google account holder.
25        87. User-Agent information is “personal information” under California law
26      when disclosed in connection with an IP address because it is information that
27      is reasonably capable of being associated with or could reasonably be linked,
28      directly or indirectly, with a particular consumer or household.”


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 1                   • Browsing History and Information Regarding a Consumer’s
 2                     Interaction with an Internet Website, Application, or
 3                     Advertisement
 4            88. California law expressly includes within the definition of “personal
 5      information” “Internet or other electronic network activity information,
 6      including but not limited to, browsing history, search history, and information
 7      regarding a consumer’s interaction with an internet web site, application, or
 8      advertisements.” CAL. CIV. CODE § 1798.140(v)(1)(F).
 9            89. The information that Google disseminates about users is easily linked
10      to individual users to personally identify them. Furthermore, Google is well
11      aware that entities that regularly buy ad space maintain their own data sets
12      and are capable of automatically cross-referencing their own data so as to
13      identify the individual user.
14               •      Google “fingerprinting”
15            90. Google “fingerprinting” is a method of identifying information
16      regarding the consumer from various Google fingerprinting technologies that
17      uniquely identify the device. Because every device and application installed
18      has small differences, images, digital pixels, and fonts display differently for
19      every device and application, just ever so slightly. By forcing a consumer to
20      display one of its images, pixels, or fonts, online, Google are able to
21      “fingerprint” their users and consumers across the internet, with or without
22      their permission.
23            91. Fingerprint data is “personal information” because it identifies, relates
24      to, describes, and is reasonably capable of being associated with, or could
25      reasonably be linked directly to a particular consumer or household as
26      described in CAL. CIV. CODE § 1798.140(v)(1).
27
28
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 1        D. Google Rakes in Huge Profits from Its Surreptitious Collection of
 2           User Data
 3        92. Google’s continuous tracking of users is no accident.
 4        93. Google’s enormous financial success results from its unparalleled
 5      tracking and collection of personal and sensitive user information and private
 6      communications (including Plaintiffs’) and selling and brokering of that user
 7      information to optimize advertisement services.
 8        94. Plaintiffs believe and, on that basis, allege Google profits from the data
 9      it collects – including the user data collected while users are in a private
10      browsing mode – in at least three ways.
11        95. First, Google associates confidential communications and data with a
12      user profile or profiles, to enrich Google’s ability to charge its customers for
13      advertisement-related services.
14        96. Second, Google then uses the intercepted confidential communications
15      and user data (in combination with the user’s profile) to direct targeted
16      advertisements to consumers (including Plaintiffs and each of them).
17        97. Third, Google uses the results to improve Google’s own algorithms and
18      technology, such as Google Search and Bard AI.
19        98. The data Google collects contains consumers’ personal viewing
20      information. Google intercepts, collects, reads, analyzes the contents of, and
21      organizes this data based on consumers’ prior histories. Google creates
22      “profiles” for each individual user and/or each individual device that accesses
23      the Internet. Google seeks to associate as much information as possible with
24      each profile because, by doing so, Google can profit from Google’s ad-
25      targeting services.
26        99. Likewise, Google Ad Manager is a service that generates targeted
27      advertisements to be displayed alongside third-party websites’ content. The
28      user profiles, which Google creates and maintains using the collected user


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 1      data, are used by Google’s algorithms to select which ads to display through
 2      Google.
 3         100.      Plaintiffs believe and, on that basis, allege Google is paid
 4      handsomely for these advertisements by the third-party advertisers.
 5      Google is able to demand high prices for these targeted-advertising services
 6      because Google uses user profiles (including data that Google obtained from
 7      users while in “private browsing mode”) to select and display advertisements
 8      targeted at those specific profiles.
 9         101.      Plaintiffs are informed and believe that Google also benefits
10      by using the data it collects to improve and refine existing Google products,
11      services, and algorithms and also to develop new products, services and
12      algorithms. This collection, usage, or monetization of user data renders moot
13      the steps Plaintiffs have taken to try to control their information from being
14      tracked or used by Google without their consent.
15         102.      The trackers that Google has across the internet tell Google
16      where consumers went subsequent to searching on Google Search, and they
17      allow Google to track what websites are popular and how often they are
18      visited. By compiling not just consumer profiles, but vast surveys of human
19      behavior across the majority of web browser activity, Google is able to create
20      a more effective search product as compared to its competitors.
21         103.      Google r e a p s s u b s t a n t i a l profits from users, including
22      Plaintiffs, by acquiring their sensitive and valuable personal information,
23      which includes far more than mere demographic information and volunteered
24      personal information like name, birth date, gender and email address.
25         104.      The information Google tracks have massive economic value.
26      This value is well understood in the e-commerce industry, and personal
27      information is now viewed as a form of currency. Likewise, the cash value of
28      the personal user information unlawfully collected by Google can be


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 1      quantified.
 2          105.         Google itself was willing to compensate users for the exact type
 3      of communications that Google illegally intercepted from Plaintiff. 5
 4          106.         A number of platforms on the market enable consumers to
 5      monetize their own data and prevent tech companies from targeting them
 6      absent their express consent.
 7          107.         The California Consumer Protection Act (CCPA) recognizes that
 8      consumers’ personal data is a property right. Not only does the CCPA prohibit
 9      covered businesses from discriminating against consumers that opt-out of data
10      collection, the CCPA also expressly provides that: “[a] business may offer
11      financial incentives, including payments to consumers as compensation, for
12      the collection of personal information, the sale of personal information, or the
13      deletion of personal information.” Cal. Civ. Code §1798.125(b)(1). The CCPA
14      provides that, “[a] business shall not use financial incentive practices that are
15      unjust, unreasonable, coercive, or usurious in nature.” Cal. Civ. Code §
16      1798.125(b)(4).
17          108.         Through its false representations and unlawful data collection,
18      Google is unjustly enriching itself at the cost of consumer choice, when the
19      consumer would otherwise have the ability to choose how they would
20      monetize their own data.
21          109.         Google’s unlawful practices have been extensively litigated in a
22      class action lawsuit filed in federal court in June 2020, where the federal court
23      denied Google’s motions to dismiss and for summary judgment and also
24      granted Rule 23(b)(2) certification for two nationwide classes seeking
25      injunctive relief. Brown v. Google LLC, No. 4:20-cv-03664-YGR-SVK, Dkts.
26      53, 82, 87, 89, 92, 113. Google intentionally and falsely led users to believe
27
28      5
          Jack Marshall, Google Pays Users for Browsing Data, DigiDay (Feb. 10, 2012),
        https://digiday.com/media/google-pays-users-for-browsing-data/


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 1      that they could limit Google’s data collection practices by setting their
 2      Chrome browser to Incognito mode. The claims for damages here are all based
 3      on facts alleged in the Brown Lawsuit.
 4         110.      The Brown lawsuit led to discovery of admissions by Google
 5      employees in their own documents that Google was intentionally deceiving
 6      users.
 7
 8        E. Tolling the Statute of Limitations
 9        111.       Any applicable statutes of limitations have been tolled under (1)
10      the fraudulent concealment doctrine, based on Google’s knowing and active
11      concealment and denial of the facts alleged herein and (2) the delayed
12      discovery doctrine, as Plaintiffs did not and could not reasonably have
13      discovered Google’s conduct alleged herein until shortly before the Complaint
14      was filed.
15        112.       Google repeatedly and falsely represented that its users
16      (including Plaintiffs and each of them) could prevent Google from tracking
17      users and collecting their information, such as by using a browser in “private
18      browsing mode.”
19        113.       Google never disclosed that it would continue to track users and
20      collect their data once these steps were performed, nor did Google ever admit
21      that it would still attempt to intercept, collect, aggregate, and analyze user data
22      so that it can continue to track individual users even when the user has
23      followed Google’s instructions on how to browse privately.
24        114.       Google also further misled users by indicating that data
25      associated with them would be viewable through their account, but Google
26      did not include the user data at issue in this lawsuit (data collected while in
27      Incognito mode) in user accounts. Google’s failure to do so is part of Google’s
28      active deception and concealment.


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 1        115.       Google’s representations are false. Google did not provide users
 2      with control and permit them to browse privately, and Google instead
 3      continued to intercept users’ communications and collect user data while users
 4      were in a private browsing mode. These Google representations, at a
 5      minimum, omitted material facts that would be necessary to make the
 6      statements made not misleading, as they left the false impression that Google
 7      did not intercept and collect users’ data while they were in “private browsing
 8      mode”.
 9        116.       Moreover, Google’s labeling of the relevant products “Incognito
10      mode” and “private browsing” is, in and of itself, misleading absent clear
11      disclosures about the ways in which Google intercepts and uses users’ private
12      data. Indeed, “incognito” is defined as “with one’s identity concealed.” Private
13      is defined as “not known or intended to be known publicly: secret.” However,
14      as alleged above, Google in fact intercepts users’ private data and then
15      associates that data with the user’s profile across its services—hardly
16      “private” or “Incognito” at all.
17        117.       Plaintiffs reasonably relied upon Google’s false and misleading
18      representations and omissions that they controlled use of their data through
19      private browsing modes such as Incognito mode and, based on those
20      misrepresentations, reasonably believed that Google was not intercepting and
21      using their private data when they were in such private browsing modes.
22        118.        Plaintiffs did not discover and could not reasonably have
23      discovered, that Google was instead intercepting and using their data in the
24      ways set forth in this Complaint until shortly before the lawsuit was filed in
25      consultation with counsel.
26        119.       Plaintiffs exercised reasonable diligence to protect their data
27      from interception. Indeed, that is precisely the reason why they used Google’s
28      “Incognito mode” and other private browsing modes. Yet they did not and


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 1      could not have reasonably discovered their claims through the exercise of
 2      reasonable diligence until consulting with counsel shortly before the filing of
 3      this Complaint.
 4
 5                                         PARTIES:
 6                                       PLAINTIFFS:
 7         120.      Plaintiffs are individuals who are all within the scope of the
 8      certified nationwide classes in the Brown Lawsuit who have now decided to
 9      separately seek monetary relief from Google based on Google’s unlawful acts.
10      Plaintiffs assert claims that already survived past motions to dismiss and
11      summary judgment in the Brown Lawsuit, where the federal court certified
12      two nationwide classes under Rule 23(b)(2) to pursue these claims for
13      purposes of obtaining injunctive relief. Plaintiffs now each seek monetary
14      relief from Google, including statutory damages. Google has taken the
15      position that any request for monetary relief involves certain individualized
16      issues and should be tried separately.
17        121.       Plaintiffs, and each of them, are adult Google account holders
18      who used Google’s “Incognito mode” to browse the web privately to visit non-
19      Google websites without signing in to any Google account. Although
20      Plaintiffs did not know at the time, Plaintiffs are informed and believe Google
21      was, at all relevant times, surreptitiously tracking their private web browsing
22      activity.
23        122.       Plaintiffs, and each of them, accessed the internet to send and
24      receive communications with websites on devices that were not shared, using
25      Incognito mode in Chrome to visit websites privately and at no time did
26      Plaintiffs give Google consent to track their internet use.
27        123.       Despite the lack of consent, Google surreptitiously tracked
28      Plaintiffs’ internet uses and intercepted Plaintiffs’ communications with


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 1      websites, revealing the information Incognito mode promised to keep private.
 2        124.        Google then sells the surreptitiously gained private personal
 3      information of Plaintiffs, causing irreparable damage to Plaintiffs’ privacy
 4      rights and ability to control their own personal rights and data.
 5        125.        Plaintiffs, and each of them, are residents of California and
 6      hereby bring California state law claims arising from Google’s intentional and
 7      unauthorized interception and tracking of their internet communications and
 8      activity while in Incognito mode, and intentional and unauthorized invasion
 9      of consumer privacy.
10
11                                        DEFENDANT:
12        126.        Defendant Google is a Delaware limited liability company with
13      a principal place of business at The Googleplex, 1600 Amphitheatre Parkway,
14      Mountain View, California 94043. Google regularly conducts business
15      throughout California and in this judicial district. Google is one of the largest
16      technology companies in the world and conducts product development,
17      search, and advertising operations in this district.
18        CALIFORNIA LAW APPLIES TO ALL PLAINTIFFS’ CLAIMS
19        127.        California’s substantive laws apply to every Plaintiff, regardless
20      of where in the United States they reside.          Google’s Terms of Service
21      explicitly states “California law will govern all disputes arising out of or
22      relating to these terms, service specific additional terms, or any related
23      services, regardless of conflict of laws rules.” As a result, Google concedes
24      that it is appropriate for this Court to apply California law to this dispute as to
25      all Plaintiffs.
26        128.        California’s substantive laws may be applied to Plaintiff’s claims
27      under the Due Process and Full Faith and Credit Clauses of the United States
28      Constitution, as California has significant contacts to the claims Plaintiffs


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 1      assert. These contacts create state interests that ensure that the choice of
 2      California state law is not arbitrary or unfair. Further, California has the
 3      greatest interest in applying its laws here.
 4
 5                                         COUNTS
 6       COUNT ONE: VIOLATION OF THE CALIFORNIA INVASION OF
 7      PRIVACY ACT (“CIPA”) CALIFORNIA PENAL CODE §§ 631 & 632
 8        129.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
 9      stated herein.
10        130.       The California Invasion of Privacy Act (“CIPA”) is codified at
11      Cal. Penal Code §§630 to 638. The Act begins with its statement of purpose:
12
13
                    The Legislature hereby declares that advances in
                    science and technology have led to the development
14                  of new devices and techniques for the purpose of
                    eavesdropping upon private communications and
15                  that the invasion of privacy resulting from the
                    continual and increasing use of such devices and
16                  techniques has created a serious threat to the free
17                  exercise of personal liberties and cannot be
                    tolerated in a free and civilized society.
18
        Cal. Penal Code § 630.
19
20
          131.       California Penal Code § 631(a) provides, in pertinent part:
21
22                   Any person who, by means of any machine,
                     instrument, or contrivance, or in any other
23                   manner . . . willfully and without the consent of all
24                   parties to the communication, or in any
                     unauthorized manner, reads, or attempts to read, or
25                   to learn the contents or meaning of any message,
                     report, or communication while the same is in
26                   transit or passing over any wire, line, or cable, or is
27                   being sent from, or received at any place within this
                     state; or who uses, or attempts to use, in any manner,
28                   or for any purpose, or to communicate in any way,
                     any information so obtained, or who aids, agrees

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 1
                     with, employs, or conspires with any person or
                     persons to lawfully do, or permit, or cause to be
 2                   done any of the acts or things mentioned above in
                     this section, is punishable by a fine not exceeding
 3                   two thousand five hundred dollars . . .
 4
 5        132.       California Penal Code § 632(a) provides, in pertinent part:
 6
                     A person who, intentionally and without the consent
 7                   of all parties to a confidential communication, uses
 8
                     an electronic amplifying or recording device to
                     eavesdrop upon or record the confidential
 9                   communication, whether the communication is
                     carried on among the parties in the presence of one
10                   another or by means of a telegraph, telephone, or
                     other device, except a radio, shall be punished by a
11                   fine not exceeding two thousand five hundred
                     dollars…
12
13
          133.       Under the above-referenced sections of the CIPA, a defendant
14
        must show it had the consent of all parties to a communication.
15
          134.       Google has its principal place of business in California; designed
16
        and effectuated its scheme to illegally track its users while they were in
17
        “private browsing session”; and has adopted California substantive law to
18
        govern its relationship with its users.
19
          135.       At all relevant times, Google’s tracking and interceptions of
20
        Plaintiffs’ internet communications while using Incognito mode was without
21
        authorization and consent from Plaintiffs or Websites. The interceptions by
22
        Google were offensive, unlawful, and outrageous.
23
          136.       Google’s     surreptitious        tracking   of   Plaintiffs’   internet
24
        communications while in Incognito mode was intentionally designed to gain
25
        information about the content in the URLs Plaintiffs visited.
26
          137.       The following items constitute “machine[s], instrument[s], or
27
        contrivance[s]” under the CIPA, and even if they do not, Google’s deliberate
28
        and admittedly purposeful scheme that facilitated its interceptions falls under

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 1      the broad statutory catch-all category of “any other manner”:
 2            A. The computer codes and programs Google used to track Plaintiffs’
 3                communications while they were in Incognito mode;
 4            B. Plaintiffs’ browsers and mobile applications;
 5            C. Plaintiffs’ computing and mobile devices;
 6            D. Google’s web and ad servers;
 7            E. The web and ad-servers of websites from which Google tracked and
 8                intercepted Plaintiffs’ communications while they were using a web
 9                browser in Incognito mode;
10            F. The computer codes and programs used by Google to effectuate its
11                illegal tracking and interception of Plaintiffs’ communications while
12                browsing in Incognito mode; and
13            G. The unlawful plan Google carried out to effectuate its tracking and
14                interception of Plaintiffs’ communications while using Incognito
15                mode.
16        138.       The data collected by Google constituted “confidential
17      communications,” as that term is used in Section 632, because Plaintiffs had
18      objectively reasonable expectations of privacy while browsing in “private
19      browser mode.”
20        139.       Plaintiffs have suffered actual losses by reason of these
21      violations, including, but not limited to, violation of their rights to privacy and
22      loss of value in their personally identifiable information.
23        140.       Plaintiffs have been injured by the violations of California Penal
24      Code §§ 631and 632 and pursuant to California Penal Code §637.2, each seek
25      damages for the greater of $5,000 per violation or three times the amount of
26      actual damages.
27
28


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 1            COUNT TWO: VIOLATIONS OF THE COMPREHENSIVE
 2       COMPUTER DATA ACCESS AND FRAUD ACT (“CDAFA”), CAL.
 3                            PENAL CODE § 502 ET SEQ.
 4        141.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
 5      stated herein.
 6        142.       Cal. Penal Code § 502 provides: “For purposes of bringing a civil
 7      or a criminal action under this section, a person who causes, by any means,
 8      the access of a computer, computer system, or computer network in one
 9      jurisdiction from another jurisdiction is deemed to have personally accessed
10      the computer, computer system, or computer network in each jurisdiction.”
11      Smart phone devices with the capability of using web browsers are
12      “computers” within the meaning of the statute.
13        143.       Google violated Cal. Penal Code § 502(c)(2) by knowingly
14      accessing and without permission taking, copying, analyzing, and using
15      Plaintiffs’ “computer” browsing data.
16        144.       Google was unjustly enriched when it surreptitiously acquired
17      Plaintiffs’ sensitive and valuable personal information without permission and
18      used it for Google’s own financial benefit. Plaintiffs retain a stake in the
19      profits Google earned from their personal browsing histories and other data
20      because, under the circumstances, it is unjust for Google to retain those
21      profits.
22        145.       Google accessed, copied, took, analyzed, and used data from
23      Plaintiffs’ computers in and from the State of California, where Google: (1)
24      has its principal place of business; and (2) used servers that provided
25      communication links between Plaintiffs’ devices and Google, which allowed
26      Google to access and obtain Plaintiffs’ data. Accordingly, Google caused the
27      access of Plaintiffs’ computers from California, and is therefore deemed to
28      have accessed Plaintiffs’ computers in California.


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 1        146.       As a direct and proximate result of Google’s unlawful conduct
 2      within the meaning of Cal. Penal Code § 502, Google has caused actual losses
 3      to Plaintiffs and has been unjustly enriched in an amount to be proven at trial.
 4        147.       Plaintiffs seek compensatory damages and/or disgorgement of
 5      profits in an amount to be proven at trial.
 6        148.       Plaintiffs are entitled to exemplary damages pursuant to Cal.
 7      Penal Code § 502(e)(4) because Google’s violations were willful and, upon
 8      information and belief, Google is guilty of oppression, fraud, or malice as
 9      defined in Cal. Civil Code § 3294.
10        149.       Plaintiffs are also entitled to recover their reasonable attorneys’
11      fees pursuant to Cal. Penal Code § 502(e).
12
13                       COUNT THREE: INVASION OF PRIVACY
14        150.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
15      stated herein.
16        151.       Google collected the data with the intent to intrude upon users’
17      seclusion and invade their constitutional privacy. The California Constitution
18      and common law protect consumers from invasions of their privacy and
19      intrusion upon seclusion.
20        152.       The right to privacy in California’s constitution creates a right of
21      action against private entities such as Google.
22        153.       Plaintiffs’ expectation of privacy is deeply enshrined in
23      California’s Constitution. Article I, section 1 of the California Constitution
24      provides: “All people are by nature free and independent and have inalienable
25      rights. Among these are enjoying and defending life and liberty, acquiring,
26      possessing, and protecting property and pursuing and obtaining safety,
27      happiness, and privacy.”
28        154.       The phrase “and privacy” was added by the “Privacy Initiative”


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 1      adopted by California voters in 1972. After voters approved a proposed
 2      legislative constitutional amendment designated as Proposition 11. Critically,
 3      the argument in favor of Proposition 11 reveals that the legislative intent was
 4      to curb businesses’ control over the unauthorized collection and use of
 5      consumers’ personal information, stating:
 6                   The right of privacy is the right to be left alone…It
 7                   prevents government and business interests from
                     collecting and stockpiling unnecessary information
 8                   about us and from misusing information gathered
                     for one purpose in order to serve other purposes or
 9                   to embarrass us. Fundamental to our privacy is the
                     ability to control circulation of personal
10                   information. This is essential to social
                     relationships and personal freedom. BALLOT
11                   PAMP., PROPOSED STATS. & AMENDS. TO
                     CAL. CONST. WITH ARGUMENTS TO
12                   VOTERS, GEN. ELECTION *26 (Nov. 7, 1972).
13
14        155.       The principal purpose of this constitutional right was to protect
15      against unnecessary information gathering, use, and dissemination by public
16      and private entities, including Google.
17        156.       To plead a California constitutional privacy claim, a plaintiff
18      must show an invasion of (1) a legally protected privacy interest; (2) where
19      the plaintiff had a reasonable expectation of privacy in the circumstances; and
20      (3) conduct by the defendant constituting a serious invasion of privacy.
21        157.       As described herein, Google has intruded upon the following
22      legally protected privacy interests:
23               i. The California Invasion of Privacy Act as alleged herein;
24               ii. The California Comprehensive Data Access and Fraud Act as
25                  alleged herein;
26             iii. A Fourth Amendment right to privacy contained on personal
27                  computing devices, including web-browsing history, as explained
28                  by the United States Supreme Court in the unanimous decision of


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 1                       Riley v. California;
 2                   iv. The California Constitution, which guarantees Californians the
 3                       right to privacy;
 4                   v. Google’s Privacy Policy and policies referenced therein and other
 5                       public promises it made not to track or intercept Plaintiffs’
 6                       communications or access their computing devices and web-
 7                       browsers while in a private browsing session.
 8            158.        Plaintiffs had a reasonable expectation of privacy under the
 9      circumstances in that Plaintiffs could not reasonably expect Google would
10      commit unlawful and offensive acts in violation of federal and state civil and
11      criminal laws; and Google affirmatively promised users it would not track
12      their communications or access their computing devices or web-browsers
13      while they were using a web browser while in “private browsing mode.”
14            159.        Google’s actions constituted a serious invasion of privacy in that
15      it:
16                    i. Invaded a zone of privacy protected by the Fourth Amendment,
17                       namely the right to privacy in data contained on personal
18                       computing devices, including web search and browsing histories;
19                   ii. Violated dozens of state criminal laws on wiretapping and invasion
20                       of privacy, including the California Invasion of Privacy Act;
21               iii. Invaded the privacy rights of hundreds of millions of consumers
22                       (including Plaintiffs) without their consent;
23                   iv. Constituted the unauthorized taking of valuable information from
24                       hundreds of millions of consumers (including Plaintiffs) through
25                       deceit; and
26                   v. Further violated Plaintiffs’ reasonable expectation of privacy via
27                       Google’s review, analysis, and subsequent uses of Plaintiffs’
28                       private and other browsing activity that Plaintiffs considered


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 1                  sensitive and confidential.
 2        160.       The surreptitious and unauthorized tracking of the internet
 3      communications of Plaintiffs, particularly where, as here, they have taken
 4      active (and recommended) measures to ensure their privacy, constitutes an
 5      egregious breach of social norms that is highly offensive.
 6        161.       Google’s      invasion   of    privacy   into   Plaintiffs’ internet
 7      communications       and   their   computing    devices,     web-browsers,   and
 8      applications, was highly offensive to a reasonable person in that they violated
 9      federal and state criminal and civil laws designed to protect individual privacy
10      and against theft.
11        162.       Secret monitoring of private web browsing is highly offensive
12      behavior.
13        163.       Following Google’s unauthorized interception of the sensitive
14      and valuable personal information, the subsequent analysis and use of that
15      private browsing activity to develop and refine profiles on Plaintiffs violated
16      their reasonable expectations of privacy.
17        164.       Wiretapping and surreptitious recording of communications is
18      highly offensive behavior.
19        165.       Google lacked a legitimate business interest in tracking users
20      while browsing the internet in Incognito mode without their consent.
21        166.       Plaintiffs have been damaged by Google’s invasion of their
22      privacy and they are entitled to just compensation and injunctive relief.
23
24                  COUNT FOUR: INTRUSION UPON SECLUSION
25        167.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
26      stated herein.
27        168.       Plaintiffs asserting claims for intrusion upon seclusion must
28      plead (1) intrusion into a private place, conversation, or matter; (2) in a


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 1      manner highly offensive to a reasonable person.
 2        169.       In carrying out its scheme to track and intercept Plaintiff’s
 3      communications while they were in Incognito mode in violation of its own
 4      privacy promises, Google intentionally intruded upon Plaintiffs’ solitude or
 5      seclusion in that it effectively placed itself in the middle of conversations to
 6      which it was not an authorized party.
 7        170.       Google’s tracking and interception were not authorized by
 8      Plaintiffs, the Websites with which they were communicating or Plaintiffs’
 9      web-browsers.
10        171.       Google’s intentional intrusion into their internet communications
11      and their computing devices and web-browsers was highly offensive to a
12      reasonable person in that they violated federal and state criminal and civil
13      laws designed to protect individual privacy and against theft.
14        172.       The taking of personally identifiable information from Plaintiffs
15      through deceit is highly offensive behavior, particularly where, as here,
16      Plaintiffs took active (and recommended) measures to ensure their privacy.
17        173.       Secret monitoring of private web browsing is highly offensive
18      behavior.
19        174.       Wiretapping and surreptitious recording of communications is
20      highly offensive behavior.
21        175.       Plaintiffs have been damaged by Google’s invasion of their
22      privacy and are entitled to reasonable compensation including but not limited
23      to disgorgement of profits related to the unlawful internet tracking.
24
25                       COUNT FIVE: BREACH OF CONTRACT
26        176.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
27      stated herein.
28        177.       Google’s relationship with its users is governed by the Google


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 1      Terms of Service, the Google Chrome and Chrome OS Additional Terms of
 2      Service, and the Chrome Privacy Notice, which incorporate and/or should be
 3      construed consistent with the Privacy Policy, the “Search & Browse Privately”
 4      page, and the Incognito Screen.
 5        178.       On information and belief, the Chrome Privacy Policy has
 6      historically promised Plaintiffs that Google does not collect or use private
 7      browsing communications, including by explaining that “[y]ou can limit the
 8      information Chrome stores on your system by using Incognito mode” and that,
 9      within Incognito mode, “Chrome won’t store certain information, such as:
10      Basic browsing history information like URLs, cached paged text, or IP
11      addresses of pages linked from the websites you visit [and] Snapshots of pages
12      that you visit.”
13        179.       The Privacy Policy, the Incognito landing screen, and the
14      “Search & Browse Privately” page similarly promise that users can control
15      Google’s collection and use of their browsing data, including by enabling a
16      private browsing mode such as Incognito mode, and that Google would not
17      collect and use private browsing data.
18        180.       Google breached these promises.
19        181.       Plaintiffs fulfilled their obligations under the relevant contracts.
20        182.       As a result of Google’s breach(es), Google was able to
21      unlawfully obtain the personal property of Plaintiffs and earn unjust profits.
22        183.       Plaintiffs seek compensatory damages, consequential damages,
23      and/or non-restitutionary disgorgement in an amount to be proven at trial.
24
25           COUNT SIX: CALIFORNIA UNFAIR COMPETITION LAW
26               (“UCL”), CAL. BUS. & PROF CODE § 17200 ET SEQ.
27        184.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
28      stated herein.


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 1        185.       The UCL prohibits any “unlawful, unfair, or fraudulent business
 2      act or practice and unfair, deceptive, untrue or misleading advertising.” Cal.
 3      Bus. & Prof. Code § 17200 (UCL). By engaging in the practices
 4      aforementioned, Google has violated the UCL.
 5        186.       Google’s “unlawful” acts and practices include its violation of
 6      the Federal Wiretap Act, 18 U.S.C. § 2510, et seq.; the California Invasion of
 7      Privacy Act, Cal. Penal Code §§ 631 and 632; the California Computer Data
 8      Access and Fraud Act, Cal. Penal Code § 502, et seq.; and Invasion of Privacy.
 9        187.       Google’s conduct violated the spirit and letter of these laws,
10      which protect property, economic and privacy interests and prohibit
11      unauthorized disclosure and collection of private communications and
12      personal information.
13        188.       Google’s “unfair” acts and practices include its violation of
14      property, economic and privacy interests protected by the statutes identified
15      in paragraph 168.
16        189.       To establish liability under the unfair prong, Plaintiffs need not
17      establish that these statutes were actually violated, although the claims
18      pleaded herein do so.
19        190.       Plaintiffs have suffered injuries-in-fact, including the loss of
20      money and/or property as a result of Google’s unfair and/or unlawful
21      practices. Plaintiffs have suffered unauthorized disclosure and taking of their
22      personal information which has value, as demonstrated by its use and sale by
23      Google. Plaintiffs have suffered harm in the form of diminution of the value
24      of their private and personally identifiable data and content.
25        191.       Google’s actions caused damage to, and loss of, Plaintiffs’
26      property right to control the dissemination and use of their personal
27      information and communications.
28        192.       Google reaped unjust profits and revenues in violation of the


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 1      UCL. This includes Google’s profits and revenues from their targeted-
 2      advertising and improvements of Google’s other products. Plaintiffs seek
 3      restitution and disgorgement of these unjust profits and revenues.
 4
 5                       COUNT SEVEN: NEGLIGENCE PER SE
 6        193.        Plaintiffs hereby incorporate all foregoing paragraphs as if fully
 7      stated herein.
 8        194.        In California, negligence per se is a legal principle in which you
 9      are presumed to have acted negligently if you violate a statute and, in so doing,
10      injure someone that the statute was designed to protect. Negligence per se.
11      Evidence Code § 669.
12        195.        “Although compliance with the law does not prove the absence
13      of negligence, violation of the law does raise a presumption that the violator
14      was negligent. This is called negligence per se.” (Jacobs Farm/Del Cabo, Inc.
15      v. Western Farm Service, Inc. (2010) 190 Cal.App.4th 1502, 1526
16      [119Cal.Rptr.3d 529]; see also Cal. Law Revision Com. com. to Evid. Code,
17      § 669.)
18        196.        Under Evidence Code §669, negligence is presumed if the
19      plaintiff establishes four elements: (1) the defendant violated a statute,
20      ordinance, or regulation; (2) the violation proximately caused death or injury
21      to person or property; (3) the death or injury resulted from an occurrence the
22      nature of which the statute, ordinance, or regulation was designed to prevent;
23      and (4) the person suffering the death or the injury to his person or property
24      was one of the class of persons for whose protection the statute, ordinance, or
25      regulation was adopted.
26        197.        As described herein, Google has intruded upon the following
27      statutes, ordinances, or regulations:
28                i. California Invasion of Privacy Act (“CIPA”) Penal Code §§ 631


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 1                    and 632
 2                 ii. Comprehensive      Computer   Data Access        and   Fraud Act
 3                    (“CDAFA”), CAL. PENAL CODE § 502 ET SEQ Violated dozens
 4                    of state criminal laws on wiretapping and invasion of privacy,
 5                    including the California Invasion of Privacy Act;
 6                 iii. California Unfair Competition Law (“UCL”), CAL. BUS. &
 7                    PROF. CODE § 17200 ET SEQ.
 8         198.        Defendant’s negligence was a substantial factor in causing the
 9      Plaintiffs’ Personal Information and communications to be surreptitiously
10      intercepted and used for targeted advertising or for development of Google’s
11      own proprietary products/services, and in doing so caused Plaintiffs’ injuries.
12         199.        The damages suffered by Plaintiffs were the direct and
13      reasonably foreseeable result of Defendant’s negligent breach of its duties to
14      adequately design, implement, and maintain reasonable practices to avoid
15      unlawful harvesting of user data and personal information without consent.
16         200.        Defendant’s negligence directly caused significant harm to
17      Plaintiffs. As members of the public and users of Google’s products and
18      services, Plaintiffs are one of the class of persons for whose protection the
19      statutes were adopted.
20
21        COUNT EIGHT: LARCENY/RECEIPT OF STOLEN PROPERTY
22                                Cal. Penal Code § 496(a), (c)
23         201.        Plaintiffs hereby incorporate all foregoing paragraphs as if fully
24      stated herein.
25         202.        Defendant illegally obtained vast amounts of private information
26      to sell.
27         203.        Defendant’s taking of Plaintiffs’ Personal Information violated
28      Plaintiffs’ Property Interests.


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 1        204.       Penal Code section 496(a) creates a cause of action against
 2      anyone who (1) receives any property that has been stolen or obtained in any
 3      manner constituting theft, knowing the property to be stolen or obtained, or
 4      (2) conceals, sells, withholds, or aids in concealing or withholding any
 5      property from the owner, knowing the property to be so stolen or illegally
 6      obtained.
 7        205.       Under Penal Code Section 7, “the word ‘person’ includes a
 8      corporation as well as a natural person.” Thus, Defendant is a person under
 9      496(a).
10        206.       As discussed above, Defendant stole Plaintiff’s Personal
11      Information, Internet communications, and sensitive data to use for their
12      targeted advertising services and product development. Google’s practices
13      generate massive profits at the expense of Plaintiffs’ property interests. At no
14      point did Plaintiffs consent to Defendant’s pilfering of Plaintiffs’ personal
15      information and data.
16        207.       Defendant’s conduct constitutes larceny/receipt of stolen
17      property under Cal. Penal Code 496(a) because it: (1) knew that the
18      information was stolen or obtained by theft, and with such knowledge, and (2)
19      concealed, withheld, or aided in concealing or withholding said data from
20      their rightful owners by unlawfully selling the data and saving the data to
21      develop their own proprietary products.
22        208.       Plaintiffs did not consent to such taking and misuse of their
23      Personal Information.
24        209.       Defendant’s taking of Personal Information was intended to
25      deprive the owners of said information of their ability to use their Personal
26      Information in the way they choose.
27        210.       As a result of Defendant’s actions, Plaintiffs and each of them,
28      seek actual, treble, and punitive damages in an amount to be determined at


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 1      trial. Plaintiffs and each of them, seek treble and punitive damages because
 2      Defendant’s actions were malicious, oppressive and willful, and were
 3      calculated to injure Plaintiffs and made in conscious disregard of Plaintiffs’
 4      rights. Punitive damages are warranted to deter Defendant from engaging in
 5      future misconduct.
 6        211.       Plaintiffs seek restitution for the unjust enrichment obtained by
 7      Defendant as a result of the commercialization of Plaintiffs’ sensitive data.
 8
 9                       COUNT NINE: TRESSPASS TO CHATTLES
10        212.       Plaintiffs hereby incorporate all foregoing paragraphs as if fully
11      stated herein.
12        213.       The common law prohibits the intentional intermeddling with
13      personal property, which results in the deprivation of the use of the personal
14      property, or impairment of the condition, quality, or value of the personal
15      property.
16        214.       On multiple occasions, Defendant knowingly, willfully,
17      intentionally, and maliciously gained unlawful access to Plaintiffs’ Incognito
18      mode browsing data with the intention to acquire the information and data
19      contained therein.
20        215.       Plaintiffs and each of them owned their personal information and
21      Incognito mode private browsing data.
22        216.       Through its conduct, Defendant intentionally interfered with
23      Plaintiffs’ possession of their property, and/or, injured their property interest
24      when Defendant unlawfully took, used, and intentionally exercised wrongful
25      control over their content and data for its own benefit.
26        217.       Plaintiffs and each of them did not consent to Defendant’s
27      interference with the possession of their personal information, Internet
28      communications, and private browsing data.


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 1        218.       Plaintiffs and each of them were harmed by the unlawful,
 2      unauthorized interception, tracking, collecting, saving, and selling of their
 3      data because this: (1) substantially interfered with their ownership and
 4      intended possession of their data; (2) resulted in a loss of control of their data;
 5      and (3) decreased the value of their personal information by compromising it.
 6        219.       Defendant’s conduct was the proximate cause of Plaintiffs’ harm.
 7        220.       As a result of Defendant’s unauthorized interference with
 8      Plaintiffs’ property, Plaintiffs have been and will continue to be damaged as
 9      their personal information and private Incognito mode data continues to be at
10      risk of exposure.
11        221.       Plaintiffs and each of them seek an award of actual damages to
12      be determined at trial.
13
14                                             PRAYER:
15         WHEREFORE, Plaintiffs respectfully request that this Court:
16
17         A. Award compensatory damages, including statutory damages where
18            available, to Plaintiffs and each of them, against Defendant for all
19            damages sustained as a result of Defendant’s wrongdoing, in an amount
20            to be proven at trial, including interest thereon;
21         B. Order disgorgement of all of Defendant’s profits that were derived, in
22            whole or in part, from Google’s interception and subsequent use of
23            Plaintiffs’ communications;
24         C. Award punitive damages in an amount to prevent Defendant’s further
25            misconduct;
26         D. Award Plaintiffs their reasonable costs and expenses incurred in this
27            action, including attorneys’ fees and expert fees, and;
28         E. Grant Plaintiffs such further relief as the Court deems appropriate.


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 1
 2                              JURY TRIAL DEMAND
 3         Plaintiffs demand a trial by jury of all issues so triable.
 4
 5      Dated: April 11, 2024                           POTTER HANDY LLP
 6
 7                                                  By: /s/ Barry M. Walker
 8                                                     Barry M. Walker
                                                       Attorneys for Plaintiffs
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 1                                     ATTACHMENT 1
 2                        Name                 City        State
 3        1   Adam Salcido               Bakersfield       CA
          2   Adam Schultz               Chino Hills       CA
 4
          3   Albert Avila               Lakewood          CA
 5        4   Alec Morris                Costa Mesa        CA
 6        5   Alex Marroquin             Fremont           CA
          6   Alex Robinson              Los Angeles       CA
 7        7   Alex Solomon               San Francisco     CA
 8        8   Ali Fotoohi                Fresno            CA
          9   Alyssa Ramirez             Victorville       CA
 9
         10   Amber Adame                North Hills       CA
10       11   Andrea Gargas              San Bernardino    CA
         12   Andrew Massaro             Santa Cruz        CA
11
         13   Andrew Wallace             Roseville         CA
12       14   Angela Valdivia            Clovis            CA
13       15   Angelica Barden            Riverside         CA
         16   Angelina Alvarado          Stockton          CA
14       17   Anna Riedel                Bass Lake         CA
15       18   Ashley Kiefert             Wrightwood        CA
                                         Huntington
16
         19   Avrom Kohn                 Beach             CA
17       20   Benjamin Renzulli          San Diego         CA
         21   Benny Silva                Fresno            CA
18
         22   Brandon Dickson            California City   CA
19       23   Brandon Kingcantwell       Visalia           CA
20       24   Brandy Sanders             Bakersfield       CA
         25   Brett Savage               Chula Vista       CA
21       26   Brian Woodruff             Lodi              CA
22       27   Caitlin Vellos             Vacaville         CA
         28   Carl Jennings              Santa Clara       CA
23
         29   Carol Beth Thompson        Chico             CA
24       30   Cathy Thompson             San Pedro         CA
25       31   Cesar Alvarado             Los Angeles       CA
         32   Charlene Clinger           Redding           CA
26       33   Charlene Manley            Anaheim           CA
27       34   Charlotte Roberson         Pacifica          CA
         35   Chris Peterson             Clovis            CA
28       36   Chris Woodworth            Sacramento        CA


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 1       37   Christian Husband             Corona           CA
         38   Christina Nedrebo             Riverside        CA
 2       39   Christopher Lapinski          Elk Grove        CA
 3       40   Christopher Meeks             Salinas          CA
                                            Twentynine
 4       41   Christy Swint                 Palms            CA
 5       42   Cody Vilkin                   Woodland Hills   CA
         43   Corey Gillens                 Arcadia          CA
 6
         44   Cory Drucker                  Signal Hill      CA
 7       45   Cynthia Alvarado              Mission Hills    CA
 8       46   Daniel Carlisle               San Diego        CA
         47   Daniel Chandler               Irvine           CA
 9       48   Daniel Pedersen               Paradise         CA
10       49   Darius Bruner II              Fairfield        CA
         50   David Dichter                 Los Angeles      CA
11
         51   David Vasquez                 Whittier         CA
12       52   Delano Hanley                 Long Beach       CA
         53   Delilah Montecino             Monterey Park    CA
13
         54   Denise Dardarian              Los Angeles      CA
14       55   Denise Frazier                Rodeo            CA
15       56   Desirae clymer                Oakland          CA
         57   Desiree Salazar               Oroville         CA
16       58   Diane Larios                  Watsonville      CA
17            Dionysius New York-
         59   Edwards                       San Diego        CA
18
         60   Dominic Lipari                Los Angeles      CA
19       61   Dre Sharma                    Sunnyvale        CA
         62   Dylan Benkley                 Santa Barbara    CA
20
         63   Eduardo Salas                 Los Angeles      CA
21       64   Edwin Kulakkattolikel         San Jose         CA
22       65   Elaine Navarrette             Montebello       CA
         66   Emi Bruemmer                  San Rafael       CA
23       67   Eugene Erlikh                 Los Angeles      CA
24       68   Garrett Luchaco               Dixon            CA
         69   Geno Kang                     Lancaster        CA
25
         70   George Stiffman               Los Angeles      CA
26       71   Gizelle Victoria              Antioch          CA
27       72   Gizelle Victoria              Antioch          CA
         73   Grace Jones                   San Diego        CA
28       74   Haben Woldemariam             Los Angeles      CA


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 1       75   Heather Martin              Northridge       CA
         76   Ivan Zermeno                Torrance         CA
 2       77   James Hill                  Yucca Valley     CA
 3       78   James Rivera                Victorville      CA
         79   Jason Clark                 Sonora           CA
 4
         80   Jason Davis                 Merced           CA
 5                                        Westlake
         81   Jay Sims                    Village          CA
 6
         82   Jeffrey Tremblay            Lancaster        CA
 7       83   Jeillianne Mendoza          San Jose         CA
 8       84   Jennifer Gverovich          San Jose         CA
         85   Jeramie Bryan               San Jose         CA
 9       86   Jerrell Jordon              Oakland          CA
10       87   Jesus Guerrero              Moreno Valley    CA
         88   Jethro Herrera              San Jose         CA
11
         89   Jimmy Escobar               San Diego        CA
12       90   Jimmy Kashanian             Campbell         CA
         91   John De La Torre            Imperial         CA
13
         92   John Kroll                  Anderson         CA
14       93   John Moore                  Sacramento       CA
15       94   John Reyes                  Menifee          CA
         95   Jonathan Balk               Santa Monica     CA
16       96   Jonathan Miravalle          Clearlake Oaks   CA
17       97   Jose Avila                  Baldwin Park     CA
         98   Joseph Barrett              San Diego        CA
18
         99   Joseph Friend               Chula Vista      CA
19      100   Joshua Jones                Sutter           CA
20      101   Joshua Monett               Vista            CA
        102   Joshua Quirimit             Los Angeles      CA
21      103   Julianne Varin              Los Angeles      CA
22      104   Julio Banderas              La Habra         CA
        105   Justin Jester               Olivehurst       CA
23      106   Kanan Morelock              Ventura          CA
24      107   Karen Moore                 Ontario          CA
        108   Karla Wise                  Hanford          CA
25
        109   Katrina Campbell McCorkle   Auberry          CA
26      110   Keith Lander                Chico            CA
27      111   Ketri Landrum               Spring Valley    CA
        112   Kevin Ochoa                 Rialto           CA
28      113   King Jennifer               Concord          CA


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 1      114   Kristina Florian          Willow Creek     CA
        115   Lakyra Turner             Sacramento       CA
 2      116   Lauri Roberts             Modesto          CA
 3      117   Lawna Young               Sacramento       CA
        118   Leeanne Barnes            Sacramento       CA
 4
        119   Lindsey Sampson           Bolinas          CA
 5      120   Lisa Tapia                Selma            CA
                                        Fountain
 6
        121   Luis Rodriguez            Valley           CA
 7      122   Mac-Jay Loresto           Los Angeles      CA
 8      123   Marcos Ramos              San Fernando     CA
        124   Marcus Herron             Stockton         CA
 9                                      Newport
10      125   Maretanna Curtis          Beach            CA
        126   Mario Paz                 Los Angeles      CA
11      127   Mark Cousineau            Ventura          CA
12      128   Mark Trimble              Colton           CA
        129   Marnie Evans              Riverside        CA
13
        130   Maryam Kazemi             Rohnert Park     CA
14      131   Matthew Adamson           San Bernardino   CA
15      132   Matthew Jahn              Woodland         CA
        133   Matthew Meza              Concord          CA
16      134   Michael Everly            San Diego        CA
17      135   Michael Molina            Valley Village   CA
        136   Michael Nilsson           Arcata           CA
18
        137   Michel Dunia              Santa Rosa       CA
19      138   Michelle Bustamante       Oakland          CA
        139   Michelle Cooper           Compton          CA
20
        140   Michelle Irwin            Dana Point       CA
21      141   Michelle Morris           Camino           CA
22      142   Miranda Henning           Folsom           CA
        143   Mushun Richardson         Hayward          CA
23      144   Nancy Ganzon              Menifee          CA
24                                      Hermosa
        145   Nicholaus Oliver          Beach            CA
25      146   Nick Shen                 San Francisco    CA
26      147   Nick Sodaro               Eureka           CA
        148   Nicole OShea              San Diego        CA
27
        149   Nikolas Chaplin           Manteca          CA
28      150   Nino Mejia                Torrance         CA


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 1      151 Omar Mendez                   Canoga Park      CA
        152 Orlandus Squalls              long beach       CA
 2      153 Patrick Sutton                Marina del Rey   CA
 3                                        San Luis
        154   Randall Miller              Obispo           CA
 4      155   Randy Smith                 Bellflower       CA
 5      156   Raymundo De Leon            Ontario          CA
        157   Regina Armijo               Brea             CA
 6
        158   Rex Lawrence                Vista            CA
 7      159   Richard Bradley             Los Angeles      CA
 8      160   Richard Guajardo            Fresno           CA
        161   Rick Krutilla               Martinez         CA
 9      162   Robert Endres               Sacramento       CA
10      163   Robert Harrison on          Fairfield        CA
        164   Robyn Learned               Sacramento       CA
11
        165   Roger Jones II              Keyes            CA
12      166   Roxanne Varela              Lancaster        CA
        167   Roy Hernandez               Elk Grove        CA
13
        168   Ryan Rivera                 Agoura Hills     CA
14      169   Ryan Sumida                 Chico            CA
15      170   Ryan Weaver                 Carmichael       CA
        171   Samantha Dellia             Caruthers        CA
16      172   Sheila Gibson               Richmond         CA
17                                        Redondo
        173   Sheshe Davis                Beach            CA
18
        174   Sonia Ighalo                San Leandro      CA
19      175   Sophia Allgood              Oakland          CA
        176   Spike Jackson               Biggs            CA
20
        177   Stephen Vaisa               Santa Ana        CA
21                                        Hawaiian
22      178   Tarella Golden              Gardens          CA
        179   Tristian Alvarado-Arana     San Francisco    CA
23      180   Tucker Potter               San Marcos       CA
24      181   Vanessa Bell                Richmond         CA
        182   Victor Horner               Fresno           CA
25      183   Vincent Cowart              Los Angeles      CA
26      184   Vivian Jordan               Montague         CA
        185   William Gorham              Escondido        CA
27
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